






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00472-CV








In the Matter of C. K.








FROM THE DISTRICT COURT OF BELL COUNTY, 169TH JUDICIAL DISTRICT


NO. 181,845-C, HONORABLE EDWARD S. JOHNSON, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N




	On September 14, 2000, appellant pleaded guilty to the offense of aggravated assault 
on a public servant.  See Tex. Pen. Code Ann. § 22.02(b)(2) (West 2003).  Appellant received a
determinate sentence of fifteen years.  On April 23, 2002, after appellant turned sixteen but before
he turned twenty-one, the Texas Youth Commission filed a motion to refer C.K. to the adjudicating
juvenile court for a release and transfer hearing.  See Tex. Hum. Res. Code Ann. § 61.079 (West
2001).  That court held a hearing and signed an order transferring appellant to the custody of the
Texas Department of Corrections--Institutional Division.

	C.K.'s appointed counsel on appeal filed a brief asserting that the appeal is frivolous. 
The brief complies with the requirements of Anders v. California, 386 U.S. 738, 744-45 (1967).  See
In re D.A.S., 973 S.W.2d 296, 299 (Tex. 1998) (applying Anders in juvenile proceedings).  Counsel
states that he has diligently examined the record and researched the law applicable to the facts and
issues in the case.  Counsel's brief contains a professional evaluation of the record demonstrating
why there are no meritorious errors to be advanced.  A copy of counsel's brief was delivered to C.K.
and he was advised of his right to examine the appellate record and to file a pro se brief. (1)  A pro se
brief has not been filed.

	We have independently reviewed the record and agree that the appeal is frivolous. 
We affirm the district court's order.



					__________________________________________

					Lee Yeakel, Justice

Before Justices Kidd, Yeakel and Patterson

Affirmed

Filed:   April 17, 2003

1.        Appellant was born November 3, 1983, and so was over eighteen at the time of this proceeding
and at the time the brief was delivered to him.  See Tex. Fam. Code Ann. § 51.02(2)(A) (West 2002)
(definition of "child").

